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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                    Case No.: 9:16-cv-81798-DMM

                                                        x
  TTT Foods Holding Company LLC,                        :
  a Florida limited liability company,                  :
                                                        :
         Plaintiff,                                     :
                                                        :
  v.                                                    :
                                                        :
  BEATRICE NAMM, an individual,                         :
  JONATHAN NAMM, an individual, and                     :
  DELUXE GOURMET SPECIALTIES LLC, a                     :
  New Jersey limited liability company,                 :
                                                        :
         Defendants.                                    :
                                                        x

                             PLAINTIFF’S INITIAL DISCLOSURES

         Pursuant to Federal Rule of Civil Procedure Rule 26(a)(1), Plaintiff, TTT Foods Holding

  Company LLC hereby submits its Rule 26(a)(1) Disclosures.

  I.     WITNESSES

         The name and, if known, the address and telephone number of each individual likely to have

  discoverable information that the disclosing party may use to support its claims or defenses, unless

  solely for impeachment, identifying the subject of the information:

         1.      Beatrice Namm
                 c/o Agustin R. Benitez
                 Benitez Law Group, P.L.
                 1223 East Concord Street
                 Orlando, Florida 32803

         The witness is a defendant in the above-captioned case and has knowledge of facts
  concerning the various transfers at issue, facts surrounding the transfers, Deluxe Gourmet Specialties
  LLC and Bea’s Brooklyn’s Best LLC’s operations and finances, and the allegations underlying the
  claims and defenses in this case.



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         2.      Beatrice Namm, as the corporate representative of Deluxe Gourmet Specialties LLC
                 c/o Agustin R. Benitez
                 Benitez Law Group, P.L.
                 1223 East Concord Street
                 Orlando, Florida 32803

          The witness is the corporate representative of Deluxe Gourmet Specialties LLC, a defendant
  in the above-captioned case, and has knowledge of facts concerning the various transfers at issue,
  facts surrounding the transfers, Deluxe Gourmet Specialties LLC’s operations and finances, and the
  allegations underlying the claims and defenses in this case.

         3.      Beatrice Namm, as the corporate representative of Bea’s Brooklyn’s Best LLC.
                 c/o Agustin R. Benitez
                 Benitez Law Group, P.L.
                 1223 East Concord Street
                 Orlando, Florida 32803

         The witness is the corporate representative of Bea’s Brooklyn’s Best LLC, a defendant in the
  above-captioned case, and has knowledge of facts concerning the various transfers at issue, facts
  surrounding the transfers, Bea’s Brooklyn’s Best LLC’s operations and finances, and the allegations
  underlying the claims and defenses in this case.

         4.      Jonathan Namm
                 c/o Agustin R. Benitez
                 Benitez Law Group, P.L.
                 1223 East Concord Street
                 Orlando, Florida 32803

         The witness is a defendant in the above-captioned case and has knowledge of facts
  concerning the various transfers at issue, facts surrounding the transfers, Deluxe Gourmet Specialties
  LLC and Bea’s Brooklyn’s Best LLC’s operations and finances, and the allegations underlying the
  claims and defenses in this case.

         5.      Other witnesses to be learned through discovery (addresses to be determined).

         6.      Any witness necessary to lay a foundation, authenticate or identify for the admission
                 of documents, demonstrative exhibits, or other evidence, including records
                 custodians for bank records.

         7.      Any witness disclosed by any other party. Any witness necessary to rebut or
                 impeach any witness disclosed by any other party.




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          Plaintiff states that discovery is ongoing and incomplete and reserves the right to amend this

  list at any time upon discovery of additional witnesses or a determination that such above listed

  witnesses are not necessary.

  II.     DOCUMENTS

          A copy of, or a description by category and location of, all documents, data compilations,

  and tangible things that are in the possession, custody, or control of the party and that the disclosing

  party may use to support it, claims or defenses, unless solely for impeachment:

                  a.      All documents referenced in the Amended Complaint.

                  b.      All documents evidencing ownership and/or control of Deluxe Gourmet
                          Specialties LLC, Bea’s Brooklyn’s Best LLC, JMT Food Group LLC, and
                          JMT Food Group and Consulting, LLC.

                  c.      All documents relating to Deluxe Gourmet Specialties LLC, Bea’s
                          Brooklyn’s Best LLC, JMT Food Group LLC, and JMT Food Group and
                          Consulting, LLC’s members, officers and directors.

                  d.      All documents relating to Deluxe Gourmet Specialties LLC, Bea’s
                          Brooklyn’s Best LLC, JMT Food Group LLC, and JMT Food Group and
                          Consulting, LLC’s principal places of business, telephone number(s),
                          fictitious name and customers.

                  e.      All documents evidencing creditors of, and claims against, Bea’s Brooklyn’s
                          Best LLC.

                  f.      All corporate records of Deluxe Gourmet Specialties LLC, Bea’s Brooklyn’s
                          Best LLC, JMT Food Group LLC, and JMT Food Group and Consulting,
                          LLC.

                  g.      All documents and correspondence relating to the transfers referenced in the
                          Amended Complaint, including but not limited to bank statements.

                  h.      All documents and correspondence relating to any goods or value exchanged
                          in relation to the transfers referenced in the Amended Complaint.

                  i.      All documents relating to business conducted and payments between Deluxe
                          Gourmet Specialties LLC and its customers and suppliers, Bea’s Brooklyn’s
                          Best LLC and its customers and suppliers, JMT Food Group LLC and its
                          customers and suppliers, and JMT Food Group and Consulting, LLC and its
                          customers and suppliers.



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                 j.     All pleadings relating to litigation between Bea’s Brooklyn’s Best LLC and
                        the Plaintiff.

                 k.     Correspondence between Deluxe Gourmet Specialties LLC and its customers
                        and suppliers, Bea’s Brooklyn’s Best LLC and its customers and suppliers,
                        JMT Food Group LLC and its customers and suppliers, and JMT Food Group
                        and Consulting, LLC and its customers and suppliers.

                 l.     All documents produced by Hughes-Plumer & Associates.

                 m.     All documents produced by Ward Transport & Logistics Corp.

                 n.     All documents produced by YRC Worldwide, Inc.

                 o.     All documents produced by Berner Food & Beverage, Inc.

                 p.     All documents produced by Kaltec Food Packaging, Inc.

                 q.     All documents produced by ActionPak, Inc.

                 r.     All documents produced by Bank of America.

                 s.     All documents produced by WalMart Stores, Inc.

                 t.     All documents produced by Costco Wholesale Corporation.

                 u.     All documents produced by ShopRite/Wakefern Food.

                 v.     All documents produced by Sam’s Club

                 w.     All documents filed, furnished, created or obtained by the Plaintiff in the
                        above-captioned case, and all related proceedings in any jurisdiction in or
                        outside the United States.

                 x.     All witness statements and/or sworn statements by any party or non-party
                        which pertains to the claims and defenses asserted in this case.

                 y.     All documents filed in this case.

                 z.     All deposition transcripts and exhibits to depositions in the above-captioned
                        case.

                 aa.    All documents produced by any defendant to the extent not objected to by
                        Plaintiff.

                 bb.    All documents produced by the Plaintiff to any defendant, subject to any
                        objections.




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                 cc.     All documents utilized by any defendant in the trial of the above-referenced
                         case.

                 dd.     All documents to be used for rebuttal and impeachment purposes.

         Plaintiff states that discovery is ongoing and incomplete, and reserves the right to amend or

  supplement this list of documents at any time prior to trial upon the discovery of additional relevant

  documents.

  III.   COMPUTATION OF DAMAGES

          A computation of any category of damages claimed by the disclosing party, making available
  for inspection and copying as under Rule 34 the documents or other evidentiary material, not
  privileged or protected from disclosure, on which such computation is based, including materials
  bearing on the nature and extent of injuries suffered:

         1. The value of the transfers set forth in the Amended Complaint and the profits lost by

  Bea’s Brooklyn’s Best LLC as a consequence of Beatrice Namm’s breach of fiduciary duty.

         2.    Deluxe Gourmet Specialties LLC and Beatrice Namm should be held liable for all

  amounts TTT Foods is entitled to under the judgements entered in its favor and against Bea’s

  Brooklyn’s Best LLC.

  IV.    INSURANCE AGREEMENTS

         For inspection and copying as under Rule 34 any insurance agreements under which any
  person carrying on an insurance business may be liable to satisfy part or all of a judgment which
  may be entered in the action or to indemnify or reimburse for payments made to satisfy the
  judgment:

         Plaintiff is not presently aware of any insurance agreement under which any person carrying

  on an insurance business may be liable to satisfy part or all of a judgment which may be entered in

  this adversary proceeding or to indemnify or reimburse for payments made to satisfy the judgment.

  Discovery, however, is ongoing, and in the event Plaintiff becomes aware of any such insurance

  agreement after discovery, it will supplement this initial disclosure.




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice of

  electronic filing via CM/ECF to Gus R. Benitez, Esquire, counsel for the Defendants, 1223 East

  Concord Street, Orlando, Florida 32803 service@arbenitez.com; Gus@arbenitez.com, and to those

  other parties registered to receive such service on December 30, 2016.

                                              SHRAIBERG FERRARA LANDAU & PAGE, PA
                                              Attorneys for TTT Foods
                                              2385 NW Executive Center Drive, Suite 300
                                              Boca Raton, Florida 33431
                                              Telephone: 561-443-0800
                                              jpage@sflp.law
                                              blee@sflp.law

                                              By:    /s/ John E. Page
                                                       John E. Page
                                                       Florida Bar No. 0860581
                                                       Bernice C. Lee
                                                       Florida Bar No. 0073535




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